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                         SSRN author page: http://ssrn.com/author=260022
         Google Scholar page: http://scholar.google.com/citations?user=s7ElcsEAAAAJ&hl=en
                        IMDB.com page: http://imdb.com/name/nm1904564/
                                  Blog: https://nancyrapoports.blog/



 EDUCATION

 Stanford Law School, J.D. (1985)

 Selected activities and honors:

     •    Note Editor, STANFORD LAW REVIEW (1984-85).
     •    Thesis: Computer Program for Secured Transactions (1985).
     •    Technical assistant in various law school and all-university plays (1983-85).
     •    First Place, Stanford Women’s Intramural Powerlifting Competition (1985).

 Rice University, B.A., summa cum laude, Legal Studies and Honors Psychology (1982)

 Selected activities, honors, and scholarships:

     •    Senior Thesis: The Effects of Time of Day on Cognitive Performance, Psychology Department
          (1982).
     •    Phi Beta Kappa (1981).
     •    Houston Psychological Association Award for Excellence in Psychology (1982).
     •    Jones College Scholar (1981-82) and Academic Coordinator, Jones College (1980-82).
     •    President, Rice Hillel (1980-82).
     •    Student Advisor, Lovett College (1979-80).
     •    Member, Student Admissions Committee (1979-82).
     •    Founder, Rapoport Prize in Legal Studies (1982).
     •    Scholarships: Max Roy Scholarship (1979-80, 1981-82); Jones College Scholarship
          (1981-82); Board of Governors Scholarship (1980-81).
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 EMPLOYMENT

 University of Nevada, Las Vegas

     •   Special Counsel to the President (2016-18).
     •   Acting Senior Vice President for Finance and Business (summer of 2017).
     •   Acting Executive Vice President & Provost (2015-16).
     •   Senior Advisor to the UNLV President (2014-15) (member of UNLV’s Cabinet).
     •   Provost’s Leadership Development Academy Coordinator (2013-14); Co-Coordinator
         (2014-15).

     •   William S. Boyd School of Law, University of Nevada, Las Vegas
            o UNLV Distinguished Professor (awarded in 2022).
            o Garman Turner Gordon Professor of Law (2007-present) (formerly the Gordon
                Silver Professor of Law).
            o Interim Dean (2012-13).

         Courses: Basic Bankruptcy Law; Contracts; Professional Responsibility; Seminar on
         Corporate Scandals; Colloquium on Lawyers in Pop Culture; Business Law & Ethics;
         Bankruptcy Ethics.

     •   Affiliate Professor of Business Law and Ethics, Lee Business School (renewable;
         2014-present)
             o Co-Chair, Task Force on Scholarship, Lee Business School Strategic Planning
                 Team (2014).

 Responsibilities and Accomplishments as Special Counsel to the President:

     •   The Executive Director of the Office of Compliance, the Ombuds Panel, the Special
         Projects Director, and the Interim Executive Director of the Office of Community
         Engagement reported to me.
     •   Coordinated, with Kyle Kaalberg (Special Projects Director), the continued implementation
         of UNLV’s strategic plan (Top Tier). In late 2018, UNLV was added to the list of Carnegie
         R1 institutions.
     •   Served as a member of the President’s Cabinet.
     •   Coordinated and monitored compliance activities across UNLV.
     •   Interacted frequently with members of the Board of Regents and the Nevada System of
         Higher Education.

 Responsibilities and Accomplishments as Acting Executive Vice President and Provost:

     •   The deans of the School of Allied Health Sciences, the Lee Business School, the School of
         Community Health Sciences (now the School of Public Health), the School of Dental
         Medicine, the College of Education, the Howard R. Hughes College of Engineering, the
         College of Fine Arts, the Graduate College, the Honors College, the William F. Harrah
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         College of Hotel Administration, the William S. Boyd School of Law, the College of Liberal
         Arts, the School of Medicine (co-reporting to the President), the School of Nursing, the
         College of Sciences, and the Greenspun College of Urban Affairs all reported to me, as did
         the Senior Vice Provost, the Vice Provost for Information Technology, the Assistant Vice
         President of Academic Resources, the Associate Vice Provost for the Office of Decision
         Support, and the Special Assistant to the Executive Vice President and Provost.
     •   Chaired the board of directors of UNLV Singapore Ltd.
     •   Worked with President Jessup, two co-chairs of the Top Tier Plan, and the chairs and co-
         chairs of five committees, to implement year one of the Top Tier strategic plan.
     •   Repaired relationships with the Faculty Senate.
     •   Hired three new deans (Liberal Arts, Fine Arts, and Allied Health) and one acting dean
         (Sciences).
     •   Reinstituted the three-year dean review process and provided more autonomy to the deans
         of schools and colleges.

 Responsibilities and Accomplishments as Acting Senior Vice President for Finance & Business:

     •   The departments of Planning and Construction, Budgets, Campus Audit, Human Resources,
         Facilities Management, Administration (Delivery Service, Telecommunication Services,
         Parking Services, and Real Estate), Risk Management and Safety, Purchasing, and the
         Controller reported to me.
     •   Served as a member of the negotiating team for the Las Vegas Stadium (Las Vegas Raiders).
     •   Repaired a challenging set of internal management issues.

 Responsibilities and Accomplishments as Senior Advisor to the UNLV President:

     •   Developed the strategic plan (Top Tier) by working in concert with former Presidents
         Donald Snyder and Len Jessup, Jim Thomson (the Special Advisor to the President for
         Regional Development and also the former CEO of the RAND Corp.), our consultants
         (Academic Leadership Associates), Kyle Kaalberg (then the Special Assistant to the
         President’s Chief of Staff), over 200 stakeholders inside and outside UNLV.
     •   Continued to serve as the point person for the execution of UNLV’s strategic plan during all
         other central administration roles.

 Responsibilities and Accomplishments as Interim Dean of Boyd School of Law:

     •   The Associate Dean for Academic Affairs, the Associate Dean for Student Affairs, the
         Associate Dean for Administration and External Affairs, the Associate Dean for Faculty
         Development and Research, the Director of the Wiener-Rogers Law Library, the Director of
         Information Technology and the Budget Director all reported to me.
     •   Managed a budget of roughly $20 million.
     •   Facilitated the conversion process for legal writing professors to move from long-term
         contracts to tenure-track positions and facilitated the hiring of two new tenure-track
         professors.
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     •   Significant fundraising success; systematized certain internal functions; and facilitated a
         review of our curriculum.
     •   Honors: Named “Faculty Member of the Year” (and faculty commencement speaker) by
         Boyd law students in 2021; named “Dean of the Year” by Boyd law students in 2013.

 University of Houston Law Center
 Professor of Law (2006-07).
 Dean (2000-06).

 Responsibilities and Accomplishments as Dean:

     •   The Associate Dean for Academic Affairs, the Associate Dean for Student Affairs, the
         Director of the O’Quinn Law Library, the Associate Dean for Information Technology, the
         Associate Dean for Finance and Administration and Chief Operating Officer of the Law
         Foundation, the Associate Dean for External Affairs and Executive Director of the Law
         Foundation, and the Director of CLE all reported to me.
     •   Presided over a record increase in the amount and size of gifts to the Law Center, even
         during a downturn in the economy; raised seven new Law Center professorships, in
         partnership with a special campaign of the University of Houston, in under two months.
     •   Facilitated the establishment of several new centers, programs, and institutes, including the
         Criminal Justice Institute, the Institute for Energy, Law & Enterprise (now the Program in
         Energy, Environment & Natural Resources), and the Center for Consumer Law.
     •   Reinvigorated the Blakely Advocacy Institute (BAI) and acquired the A.A. White Center for
         Dispute Resolution as part of the BAI.
     •   Encouraged the first major revamping of the Law Center’s curriculum in twenty years.
     •   Hired fourteen new faculty members (three of which hold endowed chairs at the Law
         Center).
     •   Facilitated the Law Center’s recovery from the devastation caused by Tropical Storm Allison
         on June 9, 2001, which poured over 12 feet of water into the Law Center’s sub-basement
         and destroyed much of its library collection (over 175,000 volumes and 1,000,000 microfiche
         lost) and all of the Law Center’s facilities. As part of the lessons learned during our
         recovery, hosted Loyola University New Orleans College of Law after Hurricane Katrina,
         until it could recover and return to New Orleans.

 University of Nebraska College of Law
 Dean and Professor of Law (1998-00).

 Responsibilities and Accomplishments as Dean:

     •   The Associate Dean, the Assistant Dean for Administration and Student Services, the
         Assistant Dean for Career Services and Alumni Relations, the Director of the Law Library,
         the Director of Development, the Office Manager, and the Acting Head of the Nebraska
         Institute for Technology in the Practice of Law all reported to me.
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     •   Instituted the creation of a new Access database to enable all Law College administrative
         units to organize and share information; improved our systems for the scheduling of Law
         College events, the timely review of employees, and the cultivation and stewardship of
         donors; initiated the design of the new “image” of the Law College; and revamped the
         furnishings of the student lounge (at zero cost to the Law College).
     •   Raised significant funds for such needs as scholarships and professorships.
     •   Encouraged the establishment of new student organizations (including an organization for
         law students who preferred non-traditional career paths and a GLBT student organization).
     •   Encouraged the development of a link between an undergraduate “learning community” and
         the Law College.

 Moritz College of Law, The Ohio State University
 Professor (1998).
 Associate Dean for Student Affairs (1996-98).
 Associate Professor (with tenure) (1995-98).
 Assistant Professor (1991-95).

 Responsibilities and Accomplishments as Associate Dean for Student Affairs:

     •   Assistant Dean of Admissions and Financial Aid, the Financial Aid Counselor and Staff
         Assistant, and the Placement Director reported to me.
     •   Counseled potential applicants regarding admission to College of Law and counseled existing
         students on academic and non-academic issues.
     •   With our Development Director, facilitated the establishment and maintenance of
         scholarships and other relationships with donors.

 Morrison & Foerster LLP
 Associate, Bankruptcy and Workouts Group, Business Department (1986-91).

     •   Bankruptcy cases included In re Toy Liquidating Co. (Worlds of Wonder), Plexus, Greyhound,
         Nucorp, and California Land & Cattle Co.
     •   Significant experience in bankruptcies involving industries such as toy manufacturers,
         computers, livestock, and television stations.

 The Hon. Joseph T. Sneed, United States Court of Appeals for the Ninth Circuit
 Judicial Clerk (1985-86).


 PUBLICATIONS, GRANTS, SPECIAL TRAINING, AND PRESENTATIONS

 Works in progress

     •   Nancy B. Rapoport, Training Law Students to Model Civility When Social Media Makes Civility
         Harder to Maintain, ___ U. PITT. L. REV. ___ (2023) (invited speaker at The Jurisprudence and
         Legacy of the Honorable Joseph F. Weis Jr. Symposium).
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    •    Nancy B. Rapoport & Joseph R. Tiano, Jr., Reimagining “Reasonableness” Under Section 330(a) in
         a World of Technology, Data, and Artificial Intelligence, ___ AM. BANKR. L.J. ___ (forthcoming
         2023) (peer-reviewed).
    •    Nancy B. Rapoport, Review of 2022 Books on Legal Education, ___ GREEN BAG ___ (2023)
         (solicited manuscript).
    •    Nancy B. Rapoport, Training Law Students to Model Civility When Social Media Makes Civility
         Harder to Maintain, University of Pittsburgh School of Law, Symposium on the Jurisprudence
         and Legacy of the Honorable Joseph F. Weis Jr., ___ U. PITT. L. REV. ___ (2023) (invited
         speaker).
    •    Aspen Practice Perfect Series, Professional Responsibility (forthcoming 2024) (with Andrew M.
         Perlman and Melissa B. Shultz).

 Books

    •    BERNARD A. BURK, VERONICA J. FINKELSTEIN & NANCY B. RAPOPORT, ETHICAL
         LAWYERING: A GUIDE FOR THE WELL-INTENTIONED (Aspen Publishing 2021) (second
         edition forthcoming 2024).
    •    NANCY B. RAPOPORT & JEFFREY D. VAN NIEL, CORPORATE SCANDALS AND THEIR
         IMPLICATIONS (3d ed.) (West Academic 2018).
    •    BLOOMBERG BNA BANKRUPTCY LAW TREATISE, A TREATISE WITH REAL-TIME UPDATES
         (contributing editor) (Bloomberg BNA 2014).
    •    NANCY B. RAPOPORT & JEFFREY D. VAN NIEL, LAW FIRM JOB SURVIVAL MANUAL: FROM
         FIRST INTERVIEW TO PARTNERSHIP (Wolters Kluwer 2014).
    •    NANCY B. RAPOPORT & JEFFREY D. VAN NIEL, LAW SCHOOL SURVIVAL MANUAL: FROM
         LSAT TO BAR EXAM (Aspen Publishers / Wolters Kluwer 2010).
    •    NANCY B. RAPOPORT, JEFFREY D. VAN NIEL & BALA G. DHARAN, ENRON AND OTHER
         CORPORATE FIASCOS: THE CORPORATE SCANDAL READER (Foundation Press 2d ed. 2009).
    •    STEVEN L. EMANUEL, STRATEGIES & TACTICS FOR THE MBE (Aspen Publishers / Wolters
         Kluwer 2009) (one of several revision authors).
    •    NANCY B. RAPOPORT & BALA G. DHARAN, ENRON: CORPORATE FIASCOS AND THEIR
         IMPLICATIONS (Foundation Press 2004).
    •    DAVID B. GOODWIN & NANCY B. RAPOPORT, AN ORAL HISTORY OF THE HONORABLE
         JOSEPH T. SNEED, Ninth Circuit Historical Society (1994) (solicited oral history).

 Reports

    •    Reporter, American College of Bankruptcy Diversity, Equity, and Inclusion Committee
         (2022-present).
    •    Reporter, American College of Bankruptcy Select Commission on Diversity, Equity, and
         Inclusion (2021-2022).
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    •   LOIS R. LUPICA & NANCY B. RAPOPORT, CO-REPORTERS, FINAL REPORT OF THE ABI
        NATIONAL ETHICS TASK FORCE (2013), available at https://abi-org-
        corp.s3.amazonaws.com/materials/Final_Report_ABI_Ethics_Task_Force.pdf.

 Book chapters

    •   Nancy B. Rapoport, Compromising One’s Principles: The Lesson of Mahlon Perkins and the Berkey-
        Kodak Case, in NANCY B. RAPOPORT & JEFFREY D. VAN NIEL, CORPORATE SCANDALS AND
        THEIR IMPLICATIONS 545 (3d ed.) (West Academic 2018).
    •   Nancy B. Rapoport, Social Media Ethics Missteps for Lawyers (and Others), PROCEEDINGS OF THE
        SIXTIETH ANNUAL ROCKY MOUNTAIN MINERAL LAW INSTITUTE 3-1 (July 2014), available
        at http://papers.ssrn.com/sol3/papers.cfm?abstract_id=2557095.
    •   Nancy B. Rapoport, Analysis and the Arts, in ZENON BANKOWSKI, MAKSYMILIAN DEL MAR
        & PAUL MAHARG, THE ARTS AND THE LEGAL ACADEMY: BEYOND TEXT IN LEGAL
        EDUCATION 101 (Ashgate Press 2012) (solicited essay), available at
        http://papers.ssrn.com/sol3/papers.cfm?abstract_id=2464202.
    •   COLLIER COMPENSATION, EMPLOYMENT AND APPOINTMENT OF TRUSTEES AND
        PROFESSIONALS IN BANKRUPTCY CASES (Lexis-Nexis 2009) (one of several revision authors).
    •   Nancy B. Rapoport, Swimming with Shark, in LAWYERS IN YOUR LIVING ROOM! LAW ON
        TELEVISION 163 (Michael Asimow, ed., 2009) (solicited manuscript), chapter available at
        http://papers.ssrn.com/sol3/papers.cfm?abstract_id=1157053.
    •   Nancy B. Rapoport, Reflections of a Former Dean, in LAW SCHOOL LEADERSHIP STRATEGIES:
        TOP DEANS ON BENCHMARKING SUCCESS, INCORPORATING FEEDBACK FROM FACULTY
        AND STUDENTS, AND BUILDING THE ENDOWMENT 199 (Aspatore Books 2006) (solicited),
        abstract available at http://papers.ssrn.com/sol3/papers.cfm?abstract_id=979321.
    •   Nancy B. Rapoport, Bankruptcy Ethics Issues for Solos and Small Firms, in ATTORNEY LIABILITY
        IN BANKRUPTCY (Corinne Cooper, ed. & Catherine E. Vance, contributing ed., ABA 2006)
        (solicited manuscript).
    •   Nancy B. Rapoport, Lord of the Flies: The Development of Rules Within an Adolescent Culture, in
        SCREENING JUSTICE—THE CINEMA OF LAW: FIFTY SIGNIFICANT FILMS OF LAW, ORDER
        AND SOCIAL JUSTICE 253 (Rennard Strickland, Teree Foster & Taunya Banks, eds. 2006)
        (solicited manuscript), available at
        http://papers.ssrn.com/sol3/papers.cfm?abstract_id=949168.
    •   Nancy B. Rapoport & Jeffrey D. Van Niel, Dr. Jekyll & Mr. Skilling: How Enron’s Public Image
        Morphed from the Most Innovative Company in the Fortune 500 to the Most Notorious Company Ever,
        in ENRON: CORPORATE FIASCOS AND THEIR IMPLICATIONS 77 (Nancy B. Rapoport & Bala
        G. Dharan, eds.) (Foundation Press 2004), available at
        http://papers.ssrn.com/sol3/papers.cfm?abstract_id=505662.

 Articles, book reviews, and essays

    •   John G. Cameron & Nancy B. Rapoport, Ethics For Real Estate Lawyers and Practice Today, 39
        THE PRACTICAL REAL ESTATE LAWYER 30 (ALI CLE, May 2023), available at
        https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4417451.
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    •   Nancy Rapoport, Stanford Law Protest Highlights Rise of Incivility, LAW360 (Mar. 28, 2023),
        available at https://www.law360.com/personal-injury-medical-
        malpractice/articles/1590537/stanford-law-protest-highlights-rise-of-incivility-in-discourse.
    •   Nancy B. Rapoport & Joseph R. Tiano, Jr., Billing Judgment, 96 AM. BANKR. L.J. 311 (2022)
        (peer-reviewed publication), available at
        https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4172409.
    •   Joseph R. Tiano, Nancy B. Rapoport & William J. Siroky, The Specter of Malpractice: When Law
        Firm General Counsel and Risk Management Professionals Are Confronted With Potential Malpractice
        Claims and Ethics Violations, 81 MARYLAND L. REV. (ONLINE) 1 (2021), available at
        https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3932534.
    •   Nancy B. Rapoport, Being a First—Over and Over Again, DENVER L. REV. FORUM (7/31/2021)
        available at https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3897378.
    •   Nancy B. Rapoport, Telling the Story on Your Timesheets: A Fee Examiner’s Tips for Creditors’
        Lawyers and Bankruptcy Estate Professionals, 15 BROOK. J. OF CORP. FIN. & COM. L. 359 (2021),
        available at https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3853962.
    •   Nancy B. Rapoport & Joe Tiano, Biglaw Surprises Some With Record Profits in 2020—Now
        What?, Above the Law (April 30, 2021), available at
        https://abovethelaw.com/2021/04/biglaw-surprises-some-with-record-profits-in-2020-
        now-what/.
    •   Nancy B. Rapoport & Joseph R. Tiano, Jr., The Legal Industry’s Second Chance To Get It Right, 57
        WILLAMETTE L. REV. 1 (2021), available at
        https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3773197.
    •   Nancy B. Rapoport & Joseph R. Tiano, Jr., Using Data Analytics to Predict an Individual Lawyer’s
        Legal Malpractice Risk Profile (Becoming an LPL “Precog”), 6 U. PA. J. L. & PUB. AFF. 267 (2020),
        available at https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3760626.
    •   Nancy B. Rapoport, Help Your Provost Help You During Promotion and Tenure Decisions, 24 THE
        GREEN BAG 83 (2020) (peer-reviewed), available at
        https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3748896.
    •   Nancy B. Rapoport, Want to Take Control of Professional Fees in Large Chapter 11 Bankruptcy
        Cases? Talking With Your Client’s General Counsel is a Good First Step, Harvard Law School
        Bankruptcy Roundtable, July 28, 2020, available at
        http://blogs.harvard.edu/bankruptcyroundtable/2020/07/28/want-to-take-control-of-
        professional-fees-in-large-chapter-11-bankruptcy-cases-talking-with-your-clients-general-
        counsel-is-a-good-first-step/.
    •   Nancy B. Rapoport, Training Law Students To Maintain Civility in Their Law Practices as a Way To
        Improve Public Discourse, North Carolina Law Review 2019 Symposium, 98 N.C. L. REV. 1143
        (2020) (solicited manuscript), available at https://ssrn.com/abstract=3616995.
    •   Nancy B. Rapoport & Joe Tiano, COVID-19 Could Catalyze The Legal Industry Renaissance,
        Above the Law (April 29, 2020), available at https://abovethelaw.com/2020/04/covid-19-
        could-catalyze-the-legal-industry-renaissance/.
    •   Nancy B. Rapoport, Using General Counsel to Set the Tone for Work in Large Chapter 11 Cases, 88
        FORDHAM L. REV. 1727 (2020) (solicited manuscript) (presented at the Stein Center for Law
        and Ethics Colloquium on Corporate Lawyers (October 2019)), available at
        https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3591118.
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    •   Nancy B. Rapoport, Client-Focused Management of Expectations for Legal Fees in Large Chapter 11
        Cases, 28 AM. BANKR. INST. L. REV. 39 (2020), available at
        https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3541347.
    •   Nancy B. Rapoport & Joseph R. Tiano, Jr., Leveraging Legal Analytics and Spend Data as a Law
        Firm Self-Governance Tool, XIII J. BUS., ENTREPRENEURSHIP & L. 171 (2019) (presented at
        Arizona State University’s 7th Annual Conference on the Governance of Emerging
        Technologies & Science: Law, Policy & Ethics (May 2019)), available at
        https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3525660.
    •   Nancy B. Rapoport & Joseph R. Tiano, Jr., Legal Analytics, Social Science, and Legal Fees:
        Reimagining “Legal Spend” Decisions in an Evolving Industry, Georgia State Symposium on Legal
        Analytics, 35 GA. ST. U. L. REV. 1269 (2019), available at
        https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3418465.
    •   Dwayne J. Hermes, Erica R. LaVarnway & Nancy B. Rapoport, A Solutions-Oriented Approach:
        Changing How Insurance Litigation Is Handled by Defense Law Firms, 2017 J. PROF’L L. 129 (peer-
        reviewed annual journal of the Center for Professional Responsibility of the American Bar
        Association), available at https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3104055.
    •   Nancy B. Rapoport, How Teams Can Help You (or Hurt You) When It Comes to Ethics, December
        2017 ABI J. 24, available at https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3085229.
    •   Nancy B. Rapoport & Charlie Douglas, High Performance Organizational Teams, LISI Estate
        Planning Newsletter #2563 (July 3, 2017), available at http://www.leimbergservices.com and
        at https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2998424.
    •   Nancy B. Rapoport, In Praise of Margaret Howard, 74 WASH. & LEE L. REV. 641 (2017),
        available at https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2981404.
    •   Nancy B. Rapoport, Ethics: Why We Must Play Well with Others (and Why We Don’t), Rocky
        Mountain Mineral Law Foundation, MANUAL OF THE ADVANCED PUBLIC LANDS SPECIAL
        INSTITUTE 587 (2017), available at
        https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2917346.
    •   Nancy B. Rapoport, On Shared Governance, Missed Opportunities, and Student Protests, 17 NEV. L.J.
        1 (2016), available at http://ssrn.com/abstract=2885539.
    •   Randy D. Gordon & Nancy B. Rapoport, Virtuous Billing, 15 NEV. L.J. 698 (2015), available at
        http://papers.ssrn.com/sol3/papers.cfm?abstract_id=2670628.
    •   Nancy B. Rapoport, “Nudging” Better Lawyer Behavior: Using Default Rules and Incentives to Change
        Behavior in Law Firms, 4 ST. MARY’S J. L. ETHICS & MALP. 42 (2014) (solicited manuscript for
        symposium on Legal Malpractice and Ethics), available at
        http://papers.ssrn.com/sol3/papers.cfm?abstract_id=2460078.
    •   Nancy B. Rapoport, The Client Who Did Too Much, 47 AKRON L. REV. 121 (2014) (solicited as
        part of the Joseph G. Miller and William C. Becker Center for Professional Responsibility’s
        Symposium on Navigating the Practice of Law in the Wake of Ethics 20/20), available at
        http://papers.ssrn.com/sol3/papers.cfm?abstract_id=2412496.
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        session).
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    •   Nancy B. Rapoport, Dressed for Excess: How Hollywood Affects the Professional Behavior of Lawyers,
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        http://papers.ssrn.com/sol3/papers.cfm?abstract_id=936343.
    •   C.R. Bowles & Nancy B. Rapoport, Has the DIP’s Attorney Become the Ultimate Creditors’ Lawyer
        in Bankruptcy Reorganization Cases?, 5 AM. BANKR. INST. L. REV. 47 (1997) (symposium
        manuscript), available at http://papers.ssrn.com/sol3/papers.cfm?abstract_id=936240.
    •   Nancy B. Rapoport, Ethics: Is Disinterestedness Still a Viable Concept? A Roundtable Discussion, 5
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        http://papers.ssrn.com/sol3/papers.cfm?abstract_id=936340.
    •   Nancy B. Rapoport, Turning the Microscope on Ourselves: Self-Assessment by Bankruptcy Lawyers of
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    •   Nancy B. Rapoport, Avoiding Judicial Wrath: The Ten Commandments for Bankruptcy Practitioners, 5
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        http://papers.ssrn.com/sol3/papers.cfm?abstract_id=940769.
    •   Nancy B. Rapoport, Seeing the Forest and The Trees: The Proper Role of the Bankruptcy Attorney, 70
        IND. L.J. 783 (1995), available at
        http://papers.ssrn.com/sol3/papers.cfm?abstract_id=938527.
    •   Nancy B. Rapoport, Worth Reading: Review of Annual Survey of Bankruptcy Law, TURNAROUNDS
        AND WORKOUTS (Beard Group, Inc.), January 15, 1995, at 6 (solicited book review).
    •   Nancy B. Rapoport, Turning and Turning in the Widening Gyre: The Problem of Potential Conflicts of
        Interest in Bankruptcy, 26 CONN. L. REV. 913 (1994), available at
        http://papers.ssrn.com/sol3/papers.cfm?abstract_id=936337.

 Op-eds

    •   Nancy Rapoport & Mary Langsner, Why does the bankruptcy code discriminate against disabled
        veterans?, THE HILL (Jan. 24, 2019), available at
        https://thehill.com/opinion/finance/426854-why-does-the-bankruptcy-code-discriminate-
        against-disabled-veterans.
    •   Lois R. Lupica & Nancy Rapoport, Consumer Debtors Should Not Have To Go It Alone, DOW
        JONES DAILY BANKRUPTCY REVIEW (May 1, 2013), available at
        http://bankruptcynews.dowjones.com/article?an=DJFDBR0020130501e951qbfa8&from=a
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    •   Nancy Rapoport, Board Smart Not to Raise the Superintendent Salary Stakes, LAS VEGAS SUN,
        September 5, 2010, available at http://www.lasvegassun.com/news/2010/sep/05/board-
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     •    Nancy B. Rapoport, Enron an Example: Grads Lost in Trees, HOUSTON CHRONICLE, February
          24, 2002, at 4H.
     •    Nancy B. Rapoport, Wrestling with the Problem of Potential Conflicts of Interest in Bankruptcy, 26
          BANKRUPTCY COURT DECISIONS WEEKLY NEWS AND COMMENT (LRP Publications),
          March 7, 1995, at A3 (solicited editorial).

 Grants

     •    2002 participant, Harvard Institutes for Higher Education Management and Leadership in
          Education (MLE) Program (partial scholarship from Harvard, $1,000 in 2001—had to
          withdraw, due to the aftermath of Tropical Storm Allison, but returned to participate in
          2002).
     •    1999 participant, Harvard Institutes for Higher Education Management Development
          Program (MDP) (partial scholarship from Harvard, $1,000).
     •    1995 Instructional Technology Small Grant (Ohio State funds; $850).
     •    1995 West Publishing/NCAIR Fellow ($15,000 grant for developing a computer program
          that teaches law students about conflicts of interest in bankruptcy law).
     •    1994 participant in Summer Institute of the Law & Society Association (Wellesley,
          Massachusetts).
     •    1993 University Seed Grant for the study of creditor representation in bankruptcy (1993
          grant from Ohio State University’s Office of Research & the College of Law).

 Podcasts (as guest speaker)

     •    PLUS blog (with Joseph R. Tiano, Jr.), Becoming an LPL “Precog”,
          https://plusblog.org/2022/10/10/plus-podcast-becoming-an-lpl-precog/.
     •    Jay Edelson, NON-COMPLIANT, Episode 13: The One Where Professor Nancy Rapoport
          Discusses the Future of Law Firms, July 1, 2020, available at
          https://podcasts.apple.com/us/podcast/episode-13-one-where-professor-nancy-rapoport-
          discusses/id1491233296?i=1000481718338.
     •    Jay Edelson, NON-COMPLIANT, Episode 14: The (Second) One Where Professor Nancy
          Rapoport Discusses the Future of Law Firms, July 13, 2020, available at
          https://podcasts.apple.com/us/podcast/episode-14-second-one-where-professor-nancy-
          rapoport/id1491233296?i=1000484787064.

 Selected academic presentations

 Anthropology of higher education / higher education generally

     •    Society for Applied Anthropology’s 79th annual meeting, Moving Seamlessly From Faculty Status
          to Administrator and Then Back Again (March 2019).
     •    Society for Applied Anthropology’s 78th annual meeting, Concentric and Overlapping Circles of
          Leadership in Higher Education (April 2018).
     •    Society for Applied Anthropology’s 77th annual meeting, Women and Diversity: Being a “First”
          (March 2017).
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     •    Presentation at 2010 Annual Meeting of Association of American Law Schools, Section on
          Women in Legal Education, Succeeding in Legal Education (January 2010).
     •    Presentation at 2009 Annual Meeting of Association of American Law Schools, Committee
          on Curriculum Issues, Redesigning Legal Education (January 2009).
     •    Presentations at the 2007 Annual Meeting of Association of American Law Schools:
               o Workshop on the Ratings Game (or Not!): The Search for Sensible Assessment, moderator for
                   plenary discussion, We Didn’t Even Bring the Box: A Roundtable Discussion on Creative
                   Alternatives, http://www.aals.org/am2007/wednesday/ratings.html.
               o Panelist, Section on Continuing Legal Education, Co-Sponsored by Section on
               o Professional Responsibility, Legal Ethics CLE in the Law School Setting: Can It Be
                   Practical, Academic, and Interesting at the Same Time?
               o Panelist, Section for the Law School Dean, What I Wish I Had Known Then: A
                   Conversation Among Deans.
     •    Symposium at Indiana University-Bloomington School of Law, Eating Our Cake and Having
          It, Too: Why Real Change Is So Difficult in Law Schools (March 2005).
     •    “Better Learning, Better Lawyers” Conference, Legal Education in the 21st Century: Radical
          Design for a Changing Profession (August 2002).
     •    Moderator of plenary session of the Annual Meeting of Association of American Law
          Schools, Mini-Workshop on Major Issues of the 21st Century: The Impact on the Legal Academy and
          Law Students (January 2000).

 Social science and ethics /social science and governance /social science and lawyer behavior /bankruptcy law

     •    University of Pittsburgh School of Law, Irrepressible Civility, Professionalism, and Ethics in
          Defining the Lawyering Career, Symposium on The Jurisprudence and Legacy of the Honorable
          Joseph F. Weis Jr. (with Abraham C. Reich and Nathan M. Crystal) (March 2023).
     •    The Stein Center for Law and Ethics, Fordham University School of Law, Colloquium on
          Corporate Lawyers, Using General Counsel to Set the Tone for Work in Large Chapter 11 Cases
          (October 2019).
     •    Pontificia Universidad Javeriana Cali (Colombia)’s International Congress of Corporate Law,
          Corporate Social Responsibility and Social Science (November 2017) (invited speaker).
     •    Colombia’s Superintendency of Companies, Corporate Governance, Compliance and Business Ethics
          (May 2016) (invited speaker).
     •    Colombia’s Superintendency of Companies, Responsibility of Administrators and Business
          Ethics Seminar, Why Smart People Make Bad Decisions (March 2015) (invited speaker).
     •    Boyd School of Law, Conference on Psychology and Lawyering: Coalescing the Field, Using
          Psychology to Change Law Firms’ Default Incentive Structures (with Randy D. Gordon) (invited
          panelist) (February 2014).
     •    The Ohio State University Moritz College of Law, faculty workshop presentation on
          “Nudging” Better Lawyer Behavior: Using Default Rules and Incentives to Change Behavior in Law Firms
          (November 2013).
     •    The Joseph G. Miller and William C. Becker Center for Professional Responsibility’s
          Symposium on Navigating the Practice of Law in the Wake of Ethics 20/20, What It Means
          To Be a Lawyer in These Uncertain Times (Part I) (invited panelist) (April 2013).
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     •    Roger Williams University School of Law, Women Who Lead Series, Why the World Needs
          Nay-Sayers (keynote speaker) (March 2010).
     •    Distinguished Lecturer, The Chapman Dialogue Series, Chapman University School of Law,
          Why No Amount of Regulation Is Likely to Prevent Corporate Scandals (February 2010).
     •    Association of American Law Schools, Annual Meeting, Section on Continuing Legal
          Education (co-sponsored by Section for the Law School Dean), Exploring the Options for the
          Future of Legal Education (with Kellye Y. Teste, Daniel McCarroll, Gary A. Munneke, and
          Ellen Y. Suni) (January 2010).
     •    Presentation at Fordham Law School’s Colloquium, The Lawyers’ Role in a Contemporary
          Democracy (with Colin Marks) (September 2008).
     •    Adjunct professor, St. John’s University School of Law, LL.M. in Bankruptcy Program
          (Enron seminar), St. John’s University School of Law Faculty, Enron: Is It Still Relevant?
          (March 2006 & March-April 2007).
     •    AALS Workshop—Do You Know Where Your Students Are? Langdell Logs On to the 21st
          Century, AALS Annual Meeting, The Changing Face of the Deanship (January 2002).
     •    The 2001 Legal Ethics Conference, Hofstra University School of Law, Legal Ethics—What
          Needs Fixing? (September 2001).
     •    AALS Bankruptcy Workshop, Teaching Bankruptcy as a Vehicle for Teaching Other Values (May
          2001).
     •    ALWD (Association of Legal Writing Directors) Biennial Conference, Do “Best Practices” in
          Legal Education Include an Obligation to the Legal Profession to Integrate Theory, Skills, and Doctrine in
          the Law School Curriculum? (July 2001).
     •    AALS Workshop for New Law Teachers, Satisfying Your Multiple Constituencies (How Your Dean
          Can Help) (July 2000 & July 1999).
     •    Annual Meeting of the Association of American Law Schools, Creditors’ & Debtors’ Rights
          Section, Local Cultures + Judicial Discretion = National Confusion?: Equities, Equations, and the
          “Uniformity” of the Bankruptcy Code (January 1998).

 Selected continuing legal education programs and other professional presentations

 Legal education / the legal profession generally

     •    Convergence of Legal Risk Management and Business Strategy Consulting, Legal Foresight Summit
          (with David Kamien, Scott Leeb, and Mark Ford) (March 2023).
     •    Using Data Analytics to Predict an Individual Lawyer’s Legal Malpractice Risk Profile, General
          Counsel Roundtable (with Joseph R. Tiano, Jr.) (June 2022).
     •    Navigating Ethical Issues in the New Remote World, 128th Annual Convention of the Commercial
          Law League of America (keynote) (May 2022).
     •    Ethics in the Movies: Lessons for Real Life, United States District Court Conference, District of
          Nevada (plenary) (May 2022).
     •    The Specter of Malpractice, General Counsel Roundtable (with Joseph R. Tiano, Jr.) (April
          2022).
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     •   Leveraging Legal Analytics and Spend Data as a Law Firm Self-Governance Tool, Arizona State
         University’s 7th Annual Conference on the Governance of Emerging Technologies &
         Science: Law, Policy & Ethics (with Joseph R. Tiano, Jr.) (May 2019).
     •   2019 Mid-Year Meeting, National Organization of Bar Counsel, A Look Inside the Incubator—
         The Challenges Facing Today’s Law Students, Law Schools, and Newly-Minted Lawyers (with Nelson
         Page and Ari Telisman) (January 2019).
     •   Law School Admission Council’s Annual Meeting, “Soothing the Savage Beast”: The Art of
         Working Effectively With Difficult People (with Floyd Weatherspoon) (June 2011).
     •   Houston Bar Minority Opportunities in the Legal Profession Committee & Minority
         Corporate Counsel Association: Business Development in a Belt-Tightening Economy,
         Overcoming Barriers and Opening Doors to Your Personal Success (February 2002).
     •   LSAC Academic Support Conference, Why Support Academic Support Programs? (June 2000).
     •   LSAC Annual Meeting, Establishing a Partnership With a New Dean (June 2000).
     •   American Bar Association’s Workshop for New Law Deans, Reflections of an Ex-Novice Dean
         (June 1999).
     •   Annual Conference of the National Association for Law Placement, Reliable Evaluation of Law
         Schools: Going Beyond Law School Rankings (April 1999).

 Bankruptcy / Ethics

     •   American College of Bankruptcy, Attorney Fees in Consumer Cases: A Policy and Ethics Discussion
         (with Joyce Babin and Areya Holder Aurzada) (March 2023).
     •   American Bankruptcy Institute, Winter Leadership Conference, Don't Just Say No: Technology,
         Ethics and the Changing Practice of Law (with Prof. Lois Lupica and Joseph R. Tiano, Jr.)
         (December 2022).
     •   State Bar of Montana, Annual Meeting of Bankruptcy Section, Billing Judgment (July 2022).
     •   Annual meeting of the National Association of Chapter 13 Trustees, Ethical Implications of
         Remote Lawyering Post-Pandemic (plenary) (July 2022).
     •   Ninth Circuit Conference of Chief Bankruptcy Judges, Bankruptcy Court Clerks and
         Bankruptcy Lawyer Representatives, Billing Judgment (March 2022).
     •   Annual Meeting of National Conference of Bankruptcy Judges, Start Your Engines! Jeopardy—
         the Broken Bench Edition (with Demetra Liggins and Judges Pamela Pepper and Catherine J.
         Furay) (October 2021).
     •   Los Angeles Chapter, Federal Bar Association, 17th Annual Bankruptcy Ethics Symposium,
         keynote address, Telling the Story on Your Timesheets: A Fee Examiner’s Tips for Creditors’ Lawyers
         and Bankruptcy Estate Professionals (November 2020).
     •   AMERICAN BANKRUPTCY INSTITUTE LAW REVIEW panel discussion, Professional Fees in
         Bankruptcy (with co-panelists Judge Kevin Carey, attorney Douglas Deutsch, Professor
         Stephen Lubben, and Professor John Pottow) (April 2019).
     •   National Conference of Bankruptcy Judges, NCBJ Plenary: Broken Bench Awards Show: The Best
         Little Show in Texas (October 2018).
     •   ABI 38th Annual Midwestern Bankruptcy Institute, Sanctions and Social Science (October 2018)
         (with Adam Miller).
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    •   Fifth Annual James T. King Bankruptcy Symposium, Ethics and Getting Paid (July 2018) (with
        the Hon. Erithe A. Smith and M. Jonathan Hayes).
    •   American Bankruptcy Institute, VALCON 2018, Special Problems Presenting Financial Consultants
        as Expert Witnesses and Ethics Hot Topics (May 2018) (with Michael Richman, George Angelich,
        and Ted Gavin).
    •   American Bankruptcy Institute’s Annual Spring Meeting, Ethics Jeopardy (with Nan Roberts
        Eitel, Lois Lupica, and Bill Rochelle) (April 2017).
    •   American Bankruptcy Institute’s Annual Spring Meeting, A Primer on Dealing with Fee
        Examiners (with Van Durrer, II, William K. Harrington, Robert J. Keach, and John F. Theil)
        (April 2016).
    •   29th Annual Central California Bankruptcy Institute, How to Use Social Science to Improve Ethics
        in a Law Firm (September 2015).
    •   89th Annual National Conference of Bankruptcy Judges, Ethics and Social Media (panel
        discussion with the Hon. Hannah Blumenstiel and Peter Fessenden) (September 2015).
    •   National Association of Legal Fee Analysts (NALFA) webinar, Bankruptcy Fee Examiners in
        Large Chapter 11 Cases (panel discussion with Walter W. Theus, Jr., Senior Trial Attorney,
        USDOJ U.S. Trustee Program and Jeffrey L. Cohen, Partner, Cooley, LLP) (May 2015).
    •   Bankruptcy Section of the Federal Bar Association and the Los Angeles Chapter of the
        Federal Bar Association, 11th Annual Bankruptcy Ethics Symposium, An Ethics Conversation
        (with Gillian N. Brown) (November 2014).
    •   Texas Bankruptcy Law Section Bench/Bar Conference, Recent Attorney Fee Issues (June 2013).
    •   Rocky Mountain Bankruptcy Conference: IWIRC session on bankruptcy ethics; keynote
        speaker on Bankruptcy Ethics in Pop Culture (January 2013).
    •   Speaker at three sessions of the 86th Annual National Conference of Bankruptcy Judges:
        ABA session on Ethical Issues Involving Pro Bono Representation: Spotting the Issues, Solving the
        Problems; NCBJ session on The Ethics of Organizers—Ethical Challenges in Forming Official and
        Unofficial Committees; and CLLA session on Pre-Bankruptcy Ethics—How to Avoid the Minefields
        Before Battle Begins (October 2012).
    •   Sacramento Valley Bankruptcy Forum’s 11th Annual Northern California Bankruptcy
        Conference, Stupid Lawyer Tricks (March 2012).
    •   National Association of Bankruptcy Trustees’ Spring Meeting, panelist on Friend Me? Ethics
        and Professionalism Issues Related to the Use of Social Media (March 2012).
    •   ABA Business Law Section’s Annual Spring Meeting, panelist for the sessions on Ethical
        Issues in Commercial Transactions, Should In-House Counsel Be Navigating in the Choppy Waters of
        Corporate Compliance?, and Consumer Bankruptcy Clinics for Law Schools (March 2012).
    •   Southeastern Bankruptcy Law Institute, SBLI Visiting Scholar Presentation, The Case for
        Value Billing in Chapter 11 (October 2011).
    •   Bankruptcy Law Section of the State Bar of Texas Bench/Bar Conference, “Money, Money,
        Money” -- Red Flags to Fee Examiners and Solutions to Those Red Flags (with the Hon. H.
        Christopher Mott, Kemp Sawers, and Warren H. Smith) (June 2011).
    •   American Bankruptcy Institute’s Annual Spring Meeting, Fulfilling the Fiduciary Duty in a
        Complex Commercial World (with Richard M. Meth & Judith Greenstone Miller (plenary) (April
        2011).
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    •   Annual Meeting of National Conference of Bankruptcy Judges, (Almost) Everything You
        Wanted to Know About…Getting Retained and Committee Solicitation Issues – The Problems, the Rules
        and the Enforcers (October 2009).
    •   ABI Southwest Bankruptcy Conference, Multimedia Ethics Presentation; Perspectives from the Bench
        and Ethical Issues; and Ethics—Walking in the Grey Areas: Advising Clients and Avoiding Pitfalls in
        Ethically Unsettled Areas (September 2009).
    •   ALI-ABI Live Telephone Seminar and Audio Webcast: Ethics and Professionalism Series,
        When Bankruptcy Comes Calling on Your Client: Five Common Ethical Mistakes (April 2009).
    •   ABI Annual Spring Meeting, Multimedia Ethics Presentation (plenary) (April 2009).
    •   Alaska Bar Association and Alaska Bankruptcy Bar, Ethics and Popular Culture and Issues in
        Bankruptcy Ethics (March 2009).
    •   National Conference of Bankruptcy Judges, 82d Annual Conference, Ethical Fee Limits:
        Getting Paid and Getting What You Deserve (Sept. 2008).
    •   American Bankruptcy Institute’s 16th Annual Southwest Bankruptcy Conference, Multimedia
        Ethics Extravaganza (plenary) (Sept. 2008).
    •   National Conference of Consumer Bankruptcy Attorneys, 16th Annual Conference, Ethics
        Issues (May 2008).
    •   American Bankruptcy Institute’s 26th Anniversary Annual Spring Meeting, Beyond Ethics: The
        Coexistence of Zealousness, Professionalism and Civility in the Insolvency Community (April 2008).
    •   American Bankruptcy Institute’s 19th Annual Winter Leadership Conference, Presentation of
        Fee Study (February 2008).
    •   National Conference of Bankruptcy Judges, 81st Annual Conference, Commercial Law
        League of America’s 22nd Annual Educational Program’s panel on Preemption and Federalism
        Issues in Bankruptcy (October 2007).
    •   American Bankruptcy Institute’s 15th Annual Southwest Bankruptcy Conference, Ethics:
        Negotiating the Sanctions Minefield (September 2007).
    •   American Bankruptcy Institute’s 25th Annual Spring Meeting, The Application of State Ethics
        Rules in Bankruptcy: Are We Just Holding Our Noses and Looking the Other Way? (April 2007).
    •   25th Anniversary Jay L. Westbrook Bankruptcy Conference, University of Texas CLE (with
        Martin Bienenstock), Conflicts Writ Large: Intercreditor Issues and Issues with Fees and Overbilling
        (November 2006).
    •   Annual Meeting of National Conference of Bankruptcy Judges, ABA Luncheon Meeting,
        Examining the Examiner (October 2004).
    •   Annual Meeting of National Conference of Bankruptcy Judges, Current Bankruptcy Ethics
        Issues: It’s Not That You Ought To! It’s That You “Got To!” (October 2004).
    •   Commercial Law League of America, Annual Meeting, Bankruptcy Ethics (April 2003).
    •   4th Annual Barry L. Zaretsky Roundtable, Brooklyn Law School, Ethics, Governance, and
        Bankruptcy After Enron (April 2003).
    •   The University of Texas School of Law CLE: The 21st Annual Bankruptcy Conference &
        Personal Injury Conference, Debtor Wrongdoing: Ethical Implications for Lawyers (November
        2002).
    •   National Association of Bankruptcy Trustees, Annual Conference, What’s Wrong With
        Us??!!—A Fascinating Look at Ourselves, Through the Eyes of Judges and Others (August 2002).
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     •    10th Annual Southwest Bankruptcy Conference, American Bankruptcy Institute, A Look
          Inside the Mega-Case (September 2002).
     •    20th Annual Bankruptcy Conference, University of Texas Law School, Bankruptcy Ethics—
          How Do We Find Out What We’re Doing Wrong (Or Right)? (November 2001).
     •    Annual Meeting of National Conference of Bankruptcy Judges, Tell Me What You Really
          Want—How Behavior (On Both Sides of the Bench) Can Impact Your Case (October 2001).
     •    Winter Leadership Conference, American Bankruptcy Institute, Bankruptcy Ethics (December
          2000).
     •    Twenty-Fourth Annual Bankruptcy Law & Practice Seminar, Stetson University College of
          Law, Ethical Problems: Dual Representation in Chapter 11, and Ethics: Pre-Bankruptcy Planning and
          Ethical Limitations (December 1999).
     •    Annual Meeting of National Conference of Bankruptcy Judges, Disinterestedness and the Chapter
          11 Professional (October 1997).
     •    Eastern District of Pennsylvania Bankruptcy Conference, Bankruptcy Issues (January 1996,
          January 1997, January 1998, and January 1999).

 Social science generally / social science and ethics

     •    General session, International Conference of Shopping Centers, U.S. Law Conference, Ethics
          Wise and Wonderful: Traditional Rules, Modern Trends (general session) (with John G. Cameron,
          Jr.) (October 2022).
     •    The Annual CLLA Luncheon at the National Conference of Bankruptcy Judges, Brave New
          World: Ethics Issues That We Never Knew We Had (October 2022).
     •    General session, Teams, Cognitive Errors, and Legal Ethics, International Council of Shopping
          Centers, U.S. Law Conference (October 2020) (virtual presentation).
     •    Southeastern Bankruptcy Law Institute, Life in the Time of COVID: Ethical Issues Facing
          Attorneys During the Pandemic (with Judges Bess Creswell and James Sacca and George L.
          Washington, Jr.) (May 2021).
     •    Plenary session, Ethics and Professionalism: Why Lawyers Do Dumb Things—The Social Science
          Reasons, National Association of Chapter 13 Trustees, 54th Annual Meeting (with Mary K.
          Viegelahn (July 2019).
     •    What Social Science Can Teach Us About Good People and Bad Choices and Images of Lawyers in Film:
          Legal Ethics and the Movies, 2018 American Bankruptcy Institute Midwest Regional Seminar
          (August 2018).
     •    2017 Mutual Funds and Investment Management Conference, Building Successful and Ethical
          Teams (March 2017).
     •    National Association of Estate Planners’ 52nd Annual Conference, Nudging More Ethical
          Behavior Through Incentives and Checklists (November 2015).
     •    The Eugene Kuntz Conference on Natural Resources Law and Policy, Nudging Better Behavior:
          How Social Science Can Help Us Make Better Decisions (November 2015).
     •    Institute for Energy Law, 66th Annual Oil & Gas Conference, “Nudging” Better Behavior
          (February 2015).
     •    National Association of Estate Planners and Councils, 50th Annual Conference, Social Science,
          Human Error & Behavior (November 2013).
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     •    ABA Annual Meeting, Business Law Section, Cognitive Biases, Blind Spots, and Other Impairments
          of Ethical Vision: How Good Lawyers Can Go Astray (with Dr. Larry Richard, James Jones, and
          Charles McCallum) (August 2013).

 Judicial ethics

     •    Federal Judicial Center Workshop for Bankruptcy Judges, (NOT) Ripped from the Headlines:
          Navigating Ethical Issues and Instilling Public Confidence in the Judicial System (with the Hon.
          Christopher M. Alston, the Hon. D. Sims Crawford, and the Hon. Michele J. Kim) (plenary
          sessions) (April 2022; July 2022).
     •    Federal Judicial Center Workshop for Bankruptcy Judges, Plenary Session, Judicial Ethics—
          Words Matter (with the Hon. John Hoffman, Jr. and the Hon. Peter W. Bowie (Ret.)) (plenary
          sessions) (April 2021; July 2021).
     •    Federal Judicial Center, Judicial Ethics (with the Hon. Peter Bowie, the Hon. Arthur
          Federman, and Prof. Elizabeth Thornburg) (plenary sessions) (April 2013; August 2013).
     •    College for New Judges, Texas Center for the Judiciary, Images of Judges in Movies (December
          2002 & November 2003).

 Corporate ethics

     •    Summit for Corporate Governance, “If You Don’t Know, Now You Know”: A Guide to a Board’s
          Role in Managing (Unexpected) Risk in the Aftermath of the COVID-19 Pandemic (with Michael J.
          Bonner, John Holland, and Jordan Rae Kelly) (September 2021).
     •    Boyd School of Law Summit on Corporate Governance, in partnership with Greenberg
          Traurig, LLP: as a moderator, Asleep at the Switch: Lessons Learned from the Failure of Board
          Oversight In Recent Corporate Scandals and Cybersecurity Gaffes (with panelists Cuneyt Akay, Paul
          Ferrillo, and Jordan Kelly, and as a panelist, Not Too Much, Not Too Little: What is Just
          Right?: Challenges Faced in Executive and Board Compensation (with co-panelist Laura Wanlass
          and moderator Flora Perez (November 2019).
     •    Department of Energy & Contractor Attorneys’ Association, Inc.’s Annual Meeting, Ethics in
          the Corporate World (May 2009).
     •    Lessons To Be Learned From the Rise and Fall of High-Profile Corporate Entities—The Scandals—How
          to Identify Red Flags in Revenue Reporting and Financial Statements (NACD Houston Chapter, Sept.
          2004) (with Bala G. Dharan and Steven C. Currall).
     •    State Bar of Texas Annual Meeting, Business Law & Corporate Counsel Sections, Moral
          Independence of Lawyers vs. Moral Interdependence (June 2003).
     •    Southeastern Finance Association and Southern Academy of Legal Studies, Corporate Scandals
          (Enron, Andersen, Tyco & World Com)—What Went Wrong? (keynote speaker) (March 2003).
     •    The University of Texas School of Law CLE: The 24th Annual Corporate Counsel Institute,
          Conflicts, Ethical Duties and Independence: Lessons from Enron (August 2002).
     •    NASA National Managers Association, Lessons in Character from Enron (April 2002).
     •    The University of Texas School of Law CLE: The 25th Annual Page Keeton Products
          Liability & Personal Injury Conference, Dressed for Excess (November 2001).
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 Women

     •   Gardere Women’s Council Ethics CLE, keynote speaker, Women on Boards (June 2013).
     •   State Bar of Texas Annual Meeting, Women & the Law Section, Images of Women Lawyers in
         the Media (June 2003).

 Miscellaneous

     •   Emanuel Bar Review Lecturer (2008-2010).
     •   BAR/BRI, lecturer on Succeeding in Law School (2002-2006).

 Selected media appearances

     •   Appearances on a variety of local, national, and international news broadcasts, and in local,
         national, and international news articles, on various bankruptcy, corporate law, and other
         legal issues, including the Enron bankruptcy case, the Arthur Andersen trial, and the Anna
         Nicole death (December 2001-present).
     •   Appeared in Academy Award®-nominated documentary, Enron: The Smartest Guys in the Room
         (Magnolia Pictures 2005).

 Special training

     •   Attended three Harvard Institutes of Higher Education leadership programs (IEM in 2016,
         MLE in 2002, and MDP in 1999).
     •   Attended STAR: A Systematic Approach to Mediation Strategies, Straus Institute for
         Dispute Resolution, Pepperdine University School of Law (June 2008) (attended on a grant
         from Pepperdine).

 Contributor to the following blogs

     •   ABOVE THE LAW, https://abovethelaw.com/.
     •   NANCY RAPOPORT’S BLOG, https://nancyrapoports.blog/.
     •   NANCY RAPOPORT’S BLOGSPOT (former blog), http://nancyrapoport.blogspot.com/.
     •   LAW SCHOOL SURVIVAL MANUAL, http://lawschoolsurvivalmanual.blogspot.com/.
     •   CORPORATE SCANDAL WATCH, http://corporatescandalwatch.blogspot.com/.
     •   UNLV LAW BLOG, Contributing Editor, http://unlvlawblog.blogspot.com.
     •   MONEYLAW, Contributing Editor, http://money-law.blogspot.com/.
     •   LEGAL PROFESSION, Contributing Editor:
         http://lawprofessors.typepad.com/legal_profession/.
     •   JURIST, Contributing Editor, http://jurist.law.pitt.edu/.
     •   CREDIT SLIPS, Guest Blogger, http://www.creditslips.org/.
     •   THE FACULTY LOUNGE, Guest Blogger, http://www.thefacultylounge.org/.
     •   THE CONGLOMERATE, Guest Blogger, http://www.theconglomerate.org/.
     •   FEMINIST LAW PROFESSORS, Guest Blogger, http://feministlawprofs.law.sc.edu/.
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    •   RACE TO THE BOTTOM, Guest Blogger, http://www.theracetothebottom.org/home/.


 HONORS, BAR ADMISSIONS, MEMBERSHIPS, AND COMMUNITY SERVICE

 Selected honors

    •   Recipient of the 2022 UNLV Alumni Association’s Outstanding Faculty Member of the
        Year Award.
    •   Named a UNLV Distinguished Professor in 2022.
    •   ABI Task Force For Veterans and Servicemembers’ Affairs Challenge Coin (2019).
    •   Recipient of one of the NAACP Legacy Builder Awards (Las Vegas Branch #1111) (2018).
    •   Commercial Law League of America’s Lawrence P. King Award for Excellence in
        Bankruptcy (2017).
    •   Inducted into Phi Kappa Phi, Chapter 100 (2017).
    •   Southeastern Bankruptcy Law Institute Distinguished Visiting Scholar (week-long visits at
        Georgia State College of Law) (2011).
    •   2008 Public Service Counsel of the Year, 4th annual event, Association of Media and
        Entertainment Counsel (2009).
    •   Fellow, American College of Bankruptcy (2005-present) (Class 16).
    •   Named a “Woman of Vision” by the Houston Delta Gamma Foundation (2004).
    •   Admitted to American Leadership Forum, Class XXII (2004). Withdrew due to family
        illness.
    •   Named “Best Local Girl Made Good,” HOUSTON PRESS, September 25, 2003, at 24.
    •   Fellow, American Bar Foundation (2002-present; Life Fellow since 2015).
    •   Rice University Distinguished Alumna (2002).
    •   Named by the Greater Houston Area Chapter of the National Council of Jewish Women as
        a “Woman of Influence” (2001).
    •   Elected to membership in the American Law Institute (2001).
    •   Named a Legal Pioneer for Women in the Law (first woman to serve as the dean of a
        Nebraska law school), Nebraska State Bar Association (2000).
    •   Louis Nemzer Memorial Lecture (yearly lecture honoring a Jewish member of the Ohio State
        faculty) (1998).
    •   Outstanding Professor of the Year, The Ohio State University College of Law (third-year
        students voting) (co-winner, with Professor Barbara Rook Snyder) (1997).

 Bar admissions

    •   United States District Court, District of Nevada (2009).
    •   Nevada Supreme Court (2007).
    •   United States District Court, Northern District of Texas (2003).
    •   Texas Supreme Court (2001).
    •   United States Supreme Court (2000).
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    •   Nebraska Supreme Court (1999).
    •   Ohio Supreme Court (1993).
    •   United States District Court for the District of Hawaii (1988).
    •   California Supreme Court (1987).
    •   United States Court of Appeals for the Ninth Circuit (1987).
    •   United States District Courts for the Northern, Eastern, Central, and Southern Districts of
        California (1987).

 Editorial boards

    •   AMERICAN BANKRUPTCY LAW JOURNAL ADVISORY BOARD (three-year term, starting in
        2023).
    •   THE BUSINESS LAWYER (2014-present).
    •   REYNOLDS COURTS & MEDIA LAW JOURNAL (2011-2013).
    •   Association of American Law Schools, JOURNAL OF LEGAL EDUCATION (2007-2010).
    •   State Bar of Texas, TEXAS BAR JOURNAL Board of Editors (2003-06); State Bar of Texas,
        TEXAS BAR JOURNAL, Editorial Board Committee (2001-2004).
    •   CALIFORNIA BANKRUPTCY JOURNAL (1995-2002).

 Selected board memberships

    •   Claremont Graduate University Board of Trustees (2021-present) (serving on Academic
        Affairs, Audit, and Student Success committees, 2021-23); Vice-Chair, Audit and Risk
        Management Committee, 2022-2023); Chair, Audit and Risk Management Committee (2023-
        present).
    •   Setona Sub-HOA Board (President, 2021-present).
    •   Rice University, External Advisory Board, Center for Teaching Excellence (2019-present);
        Chair (2022-present).
    •   Nevada Board of Bar Examiners (2018-2020).
    •   Economic Club of Las Vegas (2017-present).
    •   National Museum of Organized Crime & Law Enforcement (“The Mob Museum”) (2013-
        2022); Secretary of the Board (2016-2022); Member, Advisory Council (2022-present).
    •   JURIST Board of Directors (http://jurist.law.pitt.edu/) (2008-2014).
    •   American Bankruptcy Institute Board of Directors (2008-2017); Executive Committee
        (2012-2016); Vice President of Research Grants (2013-2016).
    •   American Board of Certification (board certification for bankruptcy lawyers) (2007-2014)
        (Dean of Faculty, 2011-2013).
    •   Association of Rice Alumni Board (2006-2009).
    •   NALP Foundation for Law Career Research and Education (2005-2009).
    •   Texas Center for Legal Ethics (2004-2006).
    •   Texas Supreme Court Historical Society (2004); Advisory Board (2004-2006).
    •   Vinson & Elkins Women’s Initiative Advisory Board (2003-2010).
    •   Houston Area Women’s Center (2003-2006).
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    •   Advisory Council Member, WWW United, Inc. (2002-2006).
    •   Texas Environmental Health Institute (a joint project of the Texas Department of Health &
        the Texas Natural Resource Conservation Commission, which is the Texas Commission on
        Environmental Quality (TCEQ)) (2002-2004).
    •   Houston World Affairs Council (2002-2005).
    •   Houston Hillel (2002-2007).
    •   Mayor’s Advisory Board of World Energy Cities Partnership (2001-2004).
    •   Houston Disaster Relief Advisory Board (2001-2004).
    •   Houston Chapter of the Texas General Counsel Forum (2001-2005).
    •   Anti-Defamation League Southwest Regional Board (2001-2006).
    •   Law School Admission Council Board of Trustees (2001-2004).

 Selected service activities and memberships

    •   Member, Foundational Subject Requirement and Performance Test Task Force, Nevada
        Supreme Court Bar Licensing Commission (2023-present).
    •   Member, American Bar Association’s Business Law Section, Corporate Governance
        Committee, Academic Affairs Subcommittee (2022-present).
    •   Member, Association of Professional Responsibility Lawyers (2022-present; 2014-16).
    •   (Co-Chair (with Joseph R. Tiano, Jr.) of SALI project to develop a bankruptcy taxonomy
        (2021-present) (sali.org).
    •   Member, Operation Stand-By, militaryprobono.org (2021-present).
    •   Secretary and Reporter, American Bankruptcy Institute’s Task Force for Veterans and
        Servicemembers Affairs (2018-present).
    •   Member, Federal Bar Association’s Professional Ethics Committee (2018-present); Ethics
        Hotline subcommittee (2018-2019); Co-Chair, Speakers’ Bureau, 2019-present).
    •   Member, Heterodox Academy (2017-present).
    •   Member, Society for Applied Anthropology (2017-present).
    •   Member, National Association of Legal Fee Analysts (2014-2018) (resigned).
    •   Member, Law School Admission Council Diversity Retention Workshop 2015 Planning
        Work Group (2014-2015).
    •   Member, Federalist Society (2013-present).
    •   Member, Federal Bar Association (2012-present).
    •   Member, Advisory Committee to the American Bankruptcy Institute’s Commission to Study
        the Reform of Chapter 11 (2012-2015) (Governance Subcommittee).
    •   Co-Reporter, American Bankruptcy Institute’s National Ethics Standards Task Force (2011-
        2013).
    •   Co-Chair, American Bankruptcy Institute’s Task Force on Young and New Members (2011-
        2012).
    •   Association of Media and Entertainment Counsel, Law School Section (Co-Chair, 2010-
        2011; member and temporary Co-Chair, 2012-2013); member, Law School Advisory Board
        (2014); Chair, Law School Advisory Board (January 2018-present).
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    •   American Bar Association, Section on Legal Education, Committee on Law School
        Administration (2008-2010); Chair-Elect (2010); Chair (2011-2013).
    •   American Bar Association, Section on Business Law, Committee on Corporate Counsel,
        Subcommittee on Corporate Governance (co-chair, with Roberta Torian) (2007-2010).
    •   Advisory Committee, American Bankruptcy Institute’s consumer bankruptcy fee study
        (advisor to Professor Lois Lupica) (2008-2011).
    •   Rice Alumni Volunteers for Admission (2007-present) and liaison for RAVA to Association
        of Rice Alumni Board (2007-2009); involved in Rice Annual Fund solicitations since 2007.
    •   Advisory Committee, American Bankruptcy Institute’s Chapter 11 fee study (advisor to
        Professor Stephen Lubben) (2005-2007).
    •   American Bankruptcy Institute’s Task Force on Pro Bono (2007).
    •   American Bar Association’s Task Force on Attorney Discipline (2005).
    •   Planning committee for 2007 Annual Meeting of Association of American Law Schools,
        Workshop on The Ratings Game (2006-2007).
    •   City of Houston Mayor’s Pension Governance Advisory Committee (2004-2006).
    •   American Bar Association, Advisory Group on Loan Repayment, Standing Committee on
        Legal Aid & Indigent Defendants (SCLAID) (2003-2006).
    •   Faculty member, ABA New Deans’ School (May-June 2003, June 2004, and June 2005).
    •   Advisory Committee, Baylor College of Medicine-UH Law Center MD/JD Program (2004-
        2006).
    •   Academic advisor, National Governmental Affairs Committee, Commercial Law League of
        America (CLLA) (2002-2006).
    •   Co-chair (with Dean Stuart Deutsch), ABA Deans’ Workshop (for mid-year ABA meeting in
        2003).
    •   Advisory Committee, The Birth of the Dot-Com Era, project for the Library of Congress
        (Project Manager, Prof. David Kirsch, University of Maryland) (advising the Library of
        Congress on what to do with the records of now-defunct law firm of Brobeck, Phleger &
        Harrison) (2004-2007).
    •   National Association of Corporate Directors (2004-2006).
    •   Commercial Law League of America, Professional Responsibility Committee (2003-2005).
    •   Member, ABA Commission on Loan Repayment & Forgiveness (2001-2003).
    •   Member, AALS Professional Development Committee (2000-2003).
    •   Communication Skills Committee, ABA Section of Legal Education and Admissions to the
        Bar (1998-2002).
    •   Chair, AALS Planning Committee for the Mini-Workshop on Major Issues of the 21st Century: the
        Impact on the Legal Academy and Law Students (1999-2000).
    •   Member, Law School Admission Council (LSAC) Services & Programs Committee (1999-
        2000), Workgroup on Alternative Admissions Models (2000-2003), and Gay, Lesbian,
        Bisexual & Transgendered Issues Workgroup (2000-2001).
    •   Nebraska State Bar Association (1999-present).
    •   National Association of College & University Attorneys (1998-2006).
    •   Commercial Law League of America (1998-present).
    •   Ohio State Bar Association (1997-present).
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    •   American Bankruptcy Institute (1994-present).
    •   AIDS Legal Referral Panel of the Bar Association of San Francisco (1989-91).
    •   Bar Association of San Francisco (1987-91).
    •   American Bar Association (1987-present).


 EXPERT AND EXPERT WITNESS ACTIVITY

    •   Expert for Legal Aid Center of Southern Nevada in In the Matter of the Guardianship of
        the Person and Estate of Katherine June Jones, Case No. G-19-, 052263-A, District Court,
        Clark County, Nevada (2023-present).
    •   Expert for McDermott Will & Emery LLP in In re Power Property Management, Cause No.
        DC-19-00695, 134th Judicial District Court, Dallas County, Texas (2023-present).
    •   Expert for McDonald Carano LLP in 4R4 Sons, LLC, Horizon Kids dba Kidz, Kidz, Kidz v.
        Tru G. Wilhelm, Inc. and counterclaim Tru G. Wilhelm v. Horizon Kidz, 4R4 Sons, LLC,
        Chrisetta M. Rush and Arthur T. Rush, individually and in their capacities as trustees of the
        Rush Family Revocable Trust (2022-present).
    •   Expert for Shumaker, Loop & Kendrick, LLP, in Adela 117, LLC v. JP Morgan Chase Bank,
        Case No. 2021-CF-004270-NC, Circuit Court of the Twelfth Judicial Circuit in and for
        Sarasota County, Florida (2022-2023) (testified in deposition and at trial).
    •   Expert for The Claro Group in In re Diocese of Camden, New Jersey, Case No. 20-21257,
        United States Bankruptcy Court, District of New Jersey (2022-present).
    •   Expert for Lowenstein Sandler LLP in In re Diocese of Camden, New Jersey, Case No. 20-
        21257, United States Bankruptcy Court, District of New Jersey (2022).
    •   Expert for Wynn Resorts and Orrick Herrington & Sutcliffe LLP in Nielsen v. Wynn
        Resorts, Ltd., Case No. A-19-803879-C, Eighth Judicial District Court, Clark County, NV
        (2022-present).
    •   Expert for Lipson Neilson PC in Estate of Tony Hsieh v. Premsrirut, Clark County District
        Court, Case No. A-22-847455-B, Las Vegas, NV (2022-present).
    •   Expert for Shumaker, Loop & Kendrick, LLP, in Adela 117, LLC and Newport Sports
        Mgmt., Inc. v. JPMorgan Chase Bank et al., Case No., 2021-CA-004270-NC, Circuit Court
        of the Twelfth Judicial Circuit in and for Sarasota County, Florida (2022).
    •   Expert for Krevolin & Horst Law Firm in Blackhall Real Estate, LLC v. Smith, JAMS
        Arbitration No. 1440007245, Atlanta, Georgia (2021).
    •   Expert for the United States Trustee in In re Star Mountain Resources, Inc., Case No. 2:18-
        bk-01594-DPC, United States Bankruptcy Court for the District of Arizona (2021).
    •   Expert for the Chapter 7 Trustee in In re Green-Light International, LLC, Case No. 2:17-bk-
        18265-BB, United States Bankruptcy Court for the Central District of California (2021).
    •   Consultant for law firms regarding a disclosure issue (2021).
    •   Expert for Beasley Allen Law Firm in In re Imerys Talc America, Inc., Case No. 19-10289,
        United States Bankruptcy Court for the District of Delaware (2020-present) and In re LTL
        Management LLC, Case No. 21-30589, United States Bankruptcy Court for the Western
        District of North Carolina, transferred to the United States Bankruptcy Court for the
        District of New Jersey (2021-present).
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    •   Expert for Bonds Ellis Eppich Schafer Jones LLP in In re Highland Capital Management,
        L.P., Case No. 19-34054, United States Bankruptcy Court for the Northern District of Texas
        (2020).
    •   Fee examiner in In re Zetta Jet USA, Inc. (2:17-bk-21386-SK) and In re Zetta Jet PTE, Ltd.,
        Case No. 2:17-bk-21387-SK, United States Bankruptcy Court for the Central District of
        California—Los Angeles Division (2020-present).
    •   Expert for Sidley Austin LLP in In re Boy Scouts of America and Delaware BSA, LLC,
        United States Bankruptcy Court for the District of Delaware, Case No. 20-10343 (LSS)
        (2020-2022) (testified at hearing in 2020; testified in arbitration in 2022).
    •   Expert for Porter Hedges LLP in In re McDermott Int’l, United States Bankruptcy Court for
        the Southern District of Texas, Case No. 20-30336 (DRJ) (2020-present).
    •   Expert for Diamond McCarthy LLP and Snow Covered Capital, LLC in Snow Covered
        Capital, LLC v. Weidner, United States District Court for the District of Nevada, Case No.
        2:19-cv-00595-JAD-NJK (2019-present) (testified at deposition).
    •   Expert for The Richter Firm and Shumaker, Loop & Kendrick in Wise v. Smith et al., Court
        of Common Pleas, State of South Carolina, Case No. 2019-CP-3300017 (2019-2020)
        (testified at deposition).
    •   Independent monitor for UpRight Law (2018-2023).
    •   Fee examiner in In re Toys “R” Us Property Company I, LLC, United States Bankruptcy
        Court for the Eastern District of Virginia, Case No. 18-31429 (KLP) (2018-2019).
    •   Fee examiner in In re Toys “R” Us, Inc., United States Bankruptcy Court for the Eastern
        District of Virginia, Case No. 17-34665 (KLP) (2018-2019).
    •   Expert for the Trustee in two In re ICPW Liquidation Corp. cases, United States Bankruptcy
        Court for the Central District of California, Case Nos. 1:17-bk-12408-MB and 1:17-bk-
        12409-MB (2018).
    •   Expert for Hoover Slovacek LLP in Midstates Petroleum Company v. Production
        Specialists, Inc. dba Regal Oilfield Sup., United States Bankruptcy Court for the Southern
        District of Texas, Case No. 4:16-bk-32237 (2017-2019).
    •   Expert for Panish Shea & Boyle LLP in Moradi v. Nevada Property 1, LLC, District Court,
        Clark County, Nevada, Case No. A-14-698824-C (2017).
    •   Expert for Diamond State Insurance Company in Gieseke v. Diamond State Insurance
        Company, U.S. District Court for the District of Nevada, Case No. 3:16-cv-00103-MMD-
        WGC (2016).
    •   Expert for Mar-Bow Value Partners, LLC, and Lakeview Capital, Inc., on a confidential
        matter involving Federal Rule of Bankruptcy Procedure 2014 (2016-present).
    •   Independent member of Fee Committee, In re Caesars Entertainment Operating Co., Inc.,
        U.S. Bankruptcy Court, Northern District of Illinois, Case No. 15-01145 (ABG) (2015-
        2018).
    •   Expert for Craig Marquiz in Home Gambling Network, Inc. v. Piche, United States District
        Court for the District of Nevada, Case No. 2:05-cv-00610-DAE-VCF (2015).
    •   Expert for the Debtor in In re The Catholic Bishop of Spokane, a/k/a The Catholic Diocese
        of Spokane, United States Bankruptcy Court, Eastern District of Washington, Case No. 04-
        08822-FPC11 (2014).
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    •   Expert for the Trustee in In re Fundamental Long Term Care, Inc., United States Bankruptcy
        Court, Middle District of Florida, Case No. 8:11-bk-22258-MGW (2014-2015) (testified at
        deposition and at trial).
    •   Expert for the Liquidating Trustee in Mukamal v. Fulbright & Jaworski L.L.P (In re Palm
        Beach Finance Partners, L.P. and Palm Beach Finance Partners II, L.P.), United States
        Bankruptcy Court, Southern District of Florida, Case No. 09-36379-BKC-PGH (2014)
        (withdrew due to scheduling issues).
    •   Expert for the law firm of Lipson Neilson Cole Seltzer Garin, P.C. in a case involving
        conflicts of interest (2014).
    •   Consultant for the Liquidating Trust for In re Residential Capital, LLC, United States
        Bankruptcy Court, Southern District of New York, Case No. 12-12020 (MG), regarding the
        reasonableness of fees (2014).
    •   Expert for the law firm of Frank J. Cremen in Grievance File #SG 1-1156, State Bar of
        Nevada (2013-2014) (testified at hearing).
    •   Expert for Irell & Manella LLP, in State of Nevada v. Gary Trafford, et al., Clark County
        District Court, Case No. C-11-277573-1 (2013).
    •   Expert for a Nevada law firm (firm and client names kept confidential) in a matter involving
        attorney disciplinary procedures (2012).
    •   Expert for the Fee Examiner in Matter of Lehman Brothers Holdings, Inc., U.S. Bankruptcy
        Court, Southern District of New York, Case No. 08-13555-jmp (2012).
    •   Expert for the Fee Examiner in In re Motors Liquidation Co. (f/k/a General Motors Corp.),
        U.S. Bankruptcy Court, Southern District of New York, Case No. 09-50026 (2011-2012).
    •   Expert for Alverson Taylor Mortensen & Sanders in Stanish et al. v. Catholic Healthcare
        West, Nevada District Court, Clark County, Case No. A-11-639674-C (2011).
    •   Fee examiner in In re Station Casinos, Inc., U.S. Bankruptcy Court, District of Nevada, Case
        Nos. BK-09-52477 through BK-11-51219 (2011).
    •   Expert for the Office of the United States Trustee in three cases: In re Mark Andrew
        Brown, U.S. Bankruptcy Court, Western District of Maryland, Case No. 09-44254-jwv7; In re
        Tracy L. Quarm, U.S. Bankruptcy Court, Northern District of Ohio, Case No. 09-20498;
        and In re John W. Young, U.S. Bankruptcy Court, Northern District of Ohio, Case No. 10-
        11404 (2010) (testified in discovery depositions and at trial; deposition and trial testimony
        done via videotape).
    •   Expert for the Trustee in The Pappg Grantor Trust v. Scott (In re Baltimore Emergency
        Services II, LLC, et al.), U.S. Bankruptcy Court, District of Maryland, Adversary No. 03-
        8294-esd (2010).
    •   Expert for Lionel, Sawyer & Collins in Michael Racusin v. Lionel Sawyer & Collins,
        American Arbitration Association, Case No. 79 194 Y 00108 08 (2009-2010) (testified in
        arbitration).
    •   Expert for the Reorganized Debtor in In re ASARCO, LLC, et al., U.S. Bankruptcy Court,
        Southern District of Texas, Case No. 05-21207 (2010) (testified at trial).
    •   Expert for BuckleySandler LLP in Pulte Homes, Inc. v. Terry Goddard, In His Official
        Capacity as Attorney General for the State of Arizona and Catherine Cortez Masto, In Her
        Official Capacity as Attorney General for the State of Nevada, D.C. Circuit, Civil Action No.
        1:10-cv-00377 (2010).
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    •   Court’s fee expert and chair of the Fee Review Committee in In re Pilgrim’s Pride Corp., U.S.
        Bankruptcy Court, Northern District of Texas, Case No. 08-45664 (DML) (2009-2010)
        (testified at hearing).
    •   Expert for plaintiff in Judy M. Jackson, M.D. v. Ira Levine et al., Nevada District Court,
        Clark County, Case No. A538983 (2009-2010) (testified in deposition and at trial).
    •   Expert for the Trustee in Asset Funding Group, L.L.C., Scobar Adventures, L.L.C., AFG
        Investment Fund 2, L.L.C., and HW Burbank, L.L.C. v. Adams and Reese, L.L.P., U.S.
        District Court, Eastern District of Louisiana, Case No. 07-2965 (2009) (testified in
        deposition; made available for trial, but case settled).
    •   Expert for Clausen Miller in In re Raymond Professional Group, Inc. (Raymond Professional
        Group, Inc. v. William A. Pope Company), Adv. No. 07-A-00639, U.S. Bankruptcy Court,
        Northern District of Illinois (2008-2009) (testified in deposition and at hearing).
    •   Expert for the plaintiff in Todd v. Guidance Software, Inc., U.S. District Court, Central
        District of California, Case No. SACV 08-1354 JVS (ANx) (2008-2009).
    •   Expert for the Debtor in Sports Shinko Co. v. Franklin K. Mukai, U.S. District Court, D.
        Hawaii, Case No. CV 04-00127 ACK/BMK (2007-2008).
    •   Expert for the Trustee in In re Mego Financial Corp., et al., U.S. Bankruptcy Court, D. Nev.,
        Case Nos. BK-N-03-52300-GWZ through BK-N-03-52304-GWZ and BK-N-03-52470-
        GWZ through BK-N-03-52474-GWZ (2007-2008) (testified at deposition).
    •   Expert for Pillsbury Winthrop in In re SONICBlue Incorporated, U.S. Bankruptcy Court,
        Northern District of California, Case Nos. 03-51775 through 03-51778 MM (2007) (made
        available to testify in court early in the case; did not testify).
    •   Expert for the Trustee in In re Southwest Florida Heart Group, P.A., U.S. Bankruptcy Court,
        Middle District of Florida, Case No. 9:05-bk-17167-ALP (2007) (testified in deposition).
    •   Expert for Beirne, Maynard & Parsons in Brazos Electric Power Cooperative, Inc. v.
        Tenaska IV Texas Partners and related cases (2003-2004; 2006-2007) (testified in
        depositions).
    •   Expert for Beirne, Maynard & Parsons in Hicks v. Charles Pfizer & Co., U.S. District Court,
        Eastern District of Texas, Civil Action No. 1:04CV201 (2006).
    •   Expert for Benjamin Hall, Esq., in Costilla Energy, Inc., by and through its litigation trustee,
        George Hicks v. Joint Energy Development Investments II, 49th Judicial District, Zapata
        County, Texas (2006-2008) (testified in deposition).
    •   Expert for Winstead, Secrest & Minick in an issue involving conflicts of interest (2005).
    •   Expert for Beckley, Singleton in Fremont Investment & Loan v. Beckley Singleton, Chtd.
        and Sidney Bailey, U.S. District Court, D. Nevada, Case No. CV-S-03-1406-JCM-RJJ (2003)
        (2005-2006) (testified in deposition).
    •   Expert for the debtor in In re ACandS, Inc., U.S. Bankruptcy Court, D. Delaware, Case No.
        02-12687 (2004-2005) (testified at hearing).
    •   Court’s fee expert and chair of the Fee Review Committee in In re Mirant Corporation, U.S.
        Bankruptcy Court, Northern District of Texas, Case No. 03-46590 (2003-2006; 2011-2012)
        (testified in deposition and at hearing).
    •   Expert witness for Latham & Watkins regarding Section 414 of H.R. 333 (changes in
        “disinterestedness” standard of 11 U.S.C. § 101(14)) (March-April 2003).
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    •   Expert witness for the Office of Disciplinary Counsel, In re Charles William Ewing, Case
        No. 97-5, before the Board of Commissioners on Grievances and Discipline of the Bar of
        the Supreme Court of Ohio (1998).


 PUBLIC TESTIMONY

    •   Testified at the June 2012 public meeting of the United States Trustee Program regarding the
        proposed new fee guidelines for larger chapter 11 cases (testimony available at
        http://www.justice.gov/ust/eo/rules_regulations/guidelines/docs/proposed/Prof_Rapopo
        rt_Comment.pdf,
        http://www.justice.gov/ust/eo/rules_regulations/guidelines/docs/proposed/Prof_Rapopo
        rt_SupplementalComment.pdf, and
        http://www.justice.gov/ust/eo/rules_regulations/guidelines/docs/proposed/Prof_Rapopo
        rt_Comment2.pdf; transcript available at
        http://www.justice.gov/ust/eo/rules_regulations/guidelines/docs/proposed/Transcript_Ju
        ne4_Public_Meeting.pdf; Director Clifford J. White III’s statement on the adopted
        guidelines, available at
        http://www.justice.gov/ust/eo/rules_regulations/guidelines/docs/Fee_Guidelines_Cliff_
        White_Statement.pdf).


 ADVICE COLUMN

    •   “Ms. Ps and Qs”: ethics advice column for the National Association of Chapter 13 Trustees
        (2011-present).


 SELECTED AMICUS BRIEFS

    •   Brief for Amici Erwin Chemerinsky and Other Legal Scholars in Support of Appellees, Aearo
        Technologies, LLC v. Those Parties Listed on Appendix A to the Complaint and Jone &
        Jane Does, 1-1000 (In re Aearo Technologies, LLC), United States Court of Appeals for the
        Seventh Circuit, Case No. 22-2606 (Feb. 1, 2023).
    •   Brief of 83 Legal Ethics Professors as Amici Curiae in Support of Hearing En Banc, United States v.
        Varner, United States Court of Appeals for the Fifth Circuit, Case No. 19-40016 (Mar. 20,
        2020).
    •   Amicus Brief of Neutral Fee Examiners Supporting Neither Party, Baker Botts L.L.P. v. ASARCO
        LLC, Case No. 14-103, United States Supreme Court (Dec. 10, 2014), 2014 WL 6984132.
    •   Brief of Amici Curiae, In re David Marshall Brown, Case No. 12-Cv-60016-KAM, United States
        District Court, Southern District of Florida (filed by co-counsel George Castrataro) (April
        11, 2012), available at http://papers.ssrn.com/sol3/papers.cfm?abstract_id=2038267.
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     •   Brief in Support of Respondent for Amici Curiae Professors Richard Aaron, Laura Beth Bartell, Jagdeep S.
         Bhandari, Susan Block-Lieb, Robert D’Agostino, Jessica Dawn Gabel, Kenneth N. Klee, George W.
         Kuney, C. Scott Pryor, Nancy B. Rapoport, Marie T. Reilly, Lynne F. Riley, Keith Sharfman, and
         Michael Sousa, RadLAX Gateway Hotel, LLC and RadLAX Gateway Deck, LLC v.
         Amalgamated Bank, Case No. 11-166, United States Supreme Court (March 5, 2012).
     •   Brief of Legal Ethics Professors and Practitioners and the Ethics Bureau at Yale as Amici Curiae in
         Support of Petitioner, Maples v. Thomas, Case No. 10-63, United States Supreme Court (May
         25, 2011).
     •   Brief of Amicus Curiae, Warren v. Seidel, United States District Court for the District of Ohio,
         Case No. 2:10-cv-01049-MHW (2010), available at
         http://papers.ssrn.com/sol3/papers.cfm?abstract_id=1843496.
     •   Brief of 30 Leading Ethicists as Amici Curiae in Support of the Petitioner, Charles Dean Hood v.
         State of Texas, Case No. 09-8610, United States Supreme Court (February 18, 2010),
         available at 2010 WL 638469.
     •   Brief of Amicus Curiae, Danny Joe McClure and Kimberly Deskins McClure, Plaintiffs, v. Bank
         of America, Creditors Financial Group, LLC, and Peter Rebelo, Defendants, Bankr. N.D.
         Tex. 2010, Adv. No. 08-04000-DML, available at
         http://papers.ssrn.com/sol3/papers.cfm?abstract_id=1550353.


 INTERESTS (INCLUDING SELECTED BALLROOM DANCE COMPETITION
 RESULTS)

     •   Ailurophile; Jane Austen and Aaron Sorkin fan.
     •   Obsessed with the history of the Titanic and with the U.S. space program.

 Ballroom dance

     •   Pro/am competition results:

             o United States Dance Championships (ballroom dance’s national competition):

                      ▪   5th in S1 US Open to the World Pro/Am Rhythm Scholarship
                          Championship; 4th in “C” Open to the World 9-Dance Championship (with
                          Igor Dogoter) (2022).
                      ▪   4th in S1 Open Gold US National Pro/Am Rhythm Scholarship
                          Championship; 5th in S1 Open Gold US National Pro/Am Smooth
                          Scholarship Championship; 4th in “C” Open Gold US Open to the World 9-
                          Dance Championship (with Igor Dogoter) (2021).
                      ▪   6th in “C” U.S. National Open Gold Rhythm Scholarship & 4th in “C” Open
                          to the World Pro/Am American Style 9-Dance Championship (with Sergei
                          Shapoval) (2019).
                      ▪   4th in “C” Open to the World Pro/Am American Style 9-Dance
                          Championship (with Sergei Shapoval) (2018).
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                  ▪   2nd in “C” Open to the World Pro/Am American Style 9-Dance
                      Championship (with Sergei Shapoval) (2017).
                  ▪   5th in “C” Open to the World Pro/Am American Style 9-Dance
                      Championship (with Sergei Shapoval) (2016).
                  ▪   4th in the “C” Open to the World Pro/Am American Style 9-Dance
                      Championship (with Sergei Shapoval) (2015).
                  ▪   5th in U.S. Open Pro/Am American Style 9-Dance Championship “B”
                      Division (missed 4th by a Rule 11 tie) & 1st in U.S. Open Pro/Am Rising Star
                      American Smooth Competition “B” Division (with Sergei Shapoval) (2014).
                  ▪   6th in U.S. National Pro/Am American Rhythm 5 Dance Scholarship “B”
                      Division; 2nd in U.S. Open Pro/Am American Style 9-Dance Championship
                      (“B” Division”) and 5th in U.S. Open Pro/Am Rising Star American Smooth
                      Competition (with Sergei Shapoval) (2013).
                  ▪   5th in Open “B” 9-Dance Championship and 6th in Rising Star “B” American
                      Smooth Competition (with Sergei Shapoval) (2012).
                  ▪   4th in Open “B” Rhythm Scholarship and 4th in Open “B” 9-Dance
                      Championship (with Sergei Shapoval) (2011).

           o Las Vegas Lights Dance Challenge: 1st in Open Gold American Style 6-Dance; 1st in
             Open CM Rhythm Multi-Dance; 1st in Open CM Smooth Multi-Dance; 1st in Open
             CM Rhythm Scholarship; 1st in Open CM Smooth Scholarship (with Igor Dogoter)
             (2022).

           o Vegas Open: 2d in S1 Open Multi-dance Rhythm; 2n in Senior Open Rhythm
             Scholarship; 2d in S1 Open Multi-dance Smooth; 1st in Open “C” 9-dance
             Scholarship; 3rd in S1 Open Smooth Scholarship (with Igor Dogoter) (2023); 1st in S1
             9-Dance; 2d in S1 Open Rhythm Multi-Dance Challenge; 2d in S1 Open Rhythm
             Scholarship; 2d in S1 Open Smooth Multi-Dance Challenge; 4th in S1 Open Smooth
             Scholarship (with Igor Dogoter) (2022).

           o Holiday Dance Classic: 2d in “C” DanceSport Series Rhythm Championship; 6th in
             “C” Open Rhythm Scholarship; 2d in “C” DanceSport Series Smooth Championship
             (2022) (with Igor Dogoter); 4th in “C” DanceSport Series Rhythm Championship; 5th
             in “C” DanceSport Series Smooth Championship; 5th in S1 Smooth Scholarship
             (with Igor Dogoter) (2021).

           o Great Gatsby Gala: 1st in World DanceSport Series “S1” American Rhythm; 2d in 9-
             Dance; 2d in World DanceSport Series “S1” American Smooth; 4th in “S1”
             Scholarship American Smooth (missed 3d by a Rule 11 tie) (with Igor Dogoter)
             (2021).

           o Viva Las Vegas: 1st in World Challenge American Smooth Open (L-B); 1st in World
             Challenge American Rhythm Open (L-B); top Gold student (with Igor Dogoter)
             (2022); 1st in World Challenge American Smooth Open (L-B); 2d in World Challenge
             American Rhythm Open (L-B) (with Igor Dogoter) (2021).
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           o Ballroom Beach Bash: 3d in Senior Open Rhythm Scholarship; 2d in “C” Open 9-
             dance; 4th in Senior Open Smooth Scholarhip (with Igor Dogoter) (2023); 1st in S1
             Open Rhythm Scholarship, 1st in “C” 9-dance; 4th in SR Open Smooth (with Igor
             Dogoter) (2022); 1st in “C” Open Gold Smooth Scholarship; 7th in “C” Open
             Advanced Smooth Scholarship (with Igor Dogoter) (2021).

           o California Open DanceSport Championships (online competition): 3d in “B” Open
             Smooth Championship & 2d in “C” Best of the Best Open Smooth (with Igor
             Dogoter) (2021).

           o Fred Astaire National Dance Championships: 4th place in Open B Rhythm
             Scholarship, 2nd place in American Rhythm 9-Dance Division, and 6th place in Open
             B Smooth Scholarship (with Sergei Shapoval) (2018).

           o Fred Astaire World Championships: 5th in Open B Rhythm Scholarship & 6th in
             Open B Smooth Scholarship (with Sergei Shapoval) (2017).

           o Emerald Ball: 5th in Open S1 Rhythm Championship and 5th in Open B American 9-
             Dance (with Igor Dogoter) (2023); 5th in Open B American 9-Dance Championship
             (2019) (with Sergei Shapoval); 4th in Open B American Rhythm Scholarship (with
             Sergei Shapoval) (2011).

           o California Star Ball: 1st in Pro/Am Open Rhythm Scholarship Competition and 3rd
             in the Open American Smooth Competition (2010); 1st in Open Rhythm Scholarship
             (with Sergei Shapoval) (2009).

           o Embassy Ball: 1st in the B Division, Open-to-the-World Latin Pro/Am Competition
             (with Billy King) (2005).

           o Ohio Star Ball: DanceSport SuperBowl Region 5 Representative, Ladies’ B Latin
             (with Billy King) (2005); 1st in International Latin (B) Scholarship (with Bill Sparks)
             (1993).

    •   Amateur competition results:

           o Vegas Open Dance Challenge:
                ▪ 2023, 3rd in Pre-Novice Smooth; 5th in Novice Smooth (with Ben Ow).

           o Holiday Dance Classic:
                ▪ 2022, 1st in Amateur “C” Smooth Novice (with Ben Ow).

           o United States Amateur Dance Sport Competition (national amateur ranking
             competition):

                   ▪   1996, 3rd place, American Rhythm Division (with Christopher Holgate).
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                   ▪   1994 & 1995, 2nd place, American Rhythm Division (with Christopher
                       Holgate).

           o Ohio Star Ball: 1st in Amateur American Rhythm & 6th place, Amateur American
             Smooth Division (with David Freeman) (1993).


 PERSONAL INFORMATION

    •   Native Texan (born in Bryan, Texas).
    •   Married to Jeffrey D. Van Niel; no children; two cats (Diana Prince and Shadow Grace).
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                                   PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
 is:     655 W. Broadway, Suite 800, San Diego, California 92101

 A true and correct copy of the foregoing document entitled (specify):

 DECLARATION OF NANCY RAPOPORT IN SUPPORT OF MOTION OF TRUSTEE RICHARD A. MARSHACK
 FOR ENTRY OF AN ORDER (A) APPROVING SALE OF ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
 ENCUMBRANCES AND INTERESTS PURSUANT TO 11 U.S.C. § 363(b) AND (B) APPROVING ASSUMPTION
 AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES AND OTHER
 AGREEMENTS

 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
 and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
 General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
 document. On July 18, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
 and determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at
 the email addresses stated below:

                                                                                 Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On July 18, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy
 case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
 States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
 declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                 Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
 method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on July 18, 2023, I
 served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
 consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
 here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
 than 24 hours after the document is filed.

                    JUDGE'S COPY
                    The Honorable Scott C. Clarkson
                    United States Bankruptcy Court
                    Central District of California
                    Ronald Reagan Federal Building and Courthouse
                    411 West Fourth Street, Suite 5130 / Courtroom 5C
                    Santa Ana, CA 92701-4593

                                                                                 Service information continued on attached page

 I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


   July 18, 2023                  Caron Burke                                             /s/ Caron Burke
   Date                          Printed Name                                             Signature
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 August 2010                                                                         F 9013-3.1.PROOF.SERVICE
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 1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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         Ronald K Brown on behalf of Creditor SDCO Tustin Executive Center, Inc.
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         Christopher Celentino on behalf of Plaintiff Richard A. Marshack
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         Christopher Celentino on behalf of Trustee Richard A Marshack (TR)
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         Shawn M Christianson on behalf of Interested Party Courtesy NEF
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         Randall Baldwin Clark on behalf of Interested Party Randall Baldwin Clark
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         Leslie A Cohen on behalf of Interested Party Courtesy NEF
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         Jenny L Doling on behalf of Interested Party INTERESTED PARTY
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